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THE UN|TED STATES DlSTR|CT COURT
FOR THE MlDDLE DlSTR|CT OF PENNSYLVAN|A

 

CONSUMER FlNANC|AL
PROTECT|ON BUREAU,

Plaintiff,

3:17-CV-101-RDM

v.
(JUDGE MAR|AN|)

NAV|ENT CORPORAT|ON, et al.,

Defendants.

 

 

ORDER

AND NOW, TH|S L DAY OF DECEMBER, 2018, in light of the
motion of non-party Seth Frotman to quash a deposition subpoena
served upon him by Defendants in the above-captioned matter, |T |S
HEREBY ORDERED that the deposition of Mr. Frotman is hereby
STAYED pending this Court’s disposition of his motion to quash.

iJObert D\.Uariani
United States District Judge

 

